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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                       CASE NO. PM500_
  UNITED STATES OF AMERICA

  V.
                                                                                           SP
  0,&+$(/*25'21'28*/$6,
          DND³'DGG\%UHHGV)DP´                                                 Dec 4, 2023
          DND³0LFKDHO´
                                                                                             West Palm Beach
  Defendant
  ___________________________________/


                                       CRIMINAL COVER SHEET

       1. Did this matter originate from a matter pending in the Northern Region of the United States
          Attorney=s Office prior to August 8, 2014 (Mag. Judge Shaniek M. Maynard)?

       2. Did this matter originate from a matter pending in the Central Region of the United States
          Attorney=s Office prior to October 3, 2019 (Mag. Judge Jared M. Strauss)?

       3. Did this matter involve the participation of or consultation with now Magistrate Judge
          Eduardo I. Sanchez during his tenure at the U.S. Attorney’s Office, which concluded on
          January 22, 2023?


                                                             Respectfully submitted,

                                                             MARKENZY LAPOINTE
                                                             UNITED STATES ATTORNEY


                                                       By:   _______________________________
                                                             ______________________    _________
                                                             Gregory Schiller
                                                             Assistant United States Attorney
                                                             Southern District of Florida
                                                             Fla. Bar # 0648477
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AO 91 (Rev. 08/09) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                             SP
                                                             for the
                                               Southern District
                                             __________ Districtof
                                                                 ofFlorida
                                                                   __________                                        Dec 4, 2023

                  United States of America                      )                                                               West Palm Beach

                             v.                                 )
                                                                )       Case No.
                                                                )
                                                                )
                                                                )
                           Defendant(s)


                                                CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                             in the county of                                         in the
                       District of                          , the defendant(s) violated:

            Code Section                                                  Offense Description




         This criminal complaint is based on these facts:




             Continued on the attached sheet.
                                                                                                       Digitally signed by AISHA A
                                                                        AISHA A RAHMAN RAHMAN
                                                                                                       Date: 2023.12.04 15:22:50 -05'00'

                                                                                           Complainant’s signature


                                                                                                                     Printed name and title




Date:
                                                                                              Judge’s signature

City and state:
                                                                                            Printed name and title
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       AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT

          I, Aisha A Rahman, being first duly sworn, hereby depose and state as follows:

  I.      INTRODUCTION AND AGENT BACKGROUND

          1.     I have been employed as a Special Agent with Homeland Security Investigations

  (HSI) since August 2020. Prior to federal employment, I worked for the Port St. Lucie (Florida)

  Police Department for nearly five-and-a-half years, serving in the capacity of a Police Officer, and

  a Persons Crimes Detective. Among my responsibilities as an HSI Special Agent, I am trained

  and empowered to investigate crimes against the United States, as more fully described in Titles

  8, 18, 19 and 21 of the United States Code, amongst others. This includes investigating crimes

  against children, particularly offenses involving child pornography and the exploitation of

  children, including but not limited to matters related to the sexual exploitation of minors, Internet

  child pornography, and offenses in violation of Title 18, United States Code, Sections 2251, 2252,

  2252A, and 2422 et. seq. I have attended and received training in this area of law enforcement,

  and have both personally investigated, as well as assisted, in investigations involving the

  exploitation of children. I have also spoken with and investigated many individuals who have

  sexually abused children. From those conversations, I am aware of common methods individuals

  use to sexually exploit children online.

          2.     I am submitting this affidavit in support of a criminal complaint and arrest warrant

  for Michael Gordon Douglas (“DOUGLAS”) a.k.a. “DaddyBreedsFam”, year of birth: 1976,

  social security number: XXX-XX-0355. I submit there is probable cause to believe that from

  October 3 through at least November 27, 2023, in the Southern District of Florida and elsewhere,

  DOUGLAS distributed child pornography in violation of 18 U.S.C. § 2252A(a)(2) and (b)(1). The




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  term “child pornography,” as used in this affidavit, refers to the definition set forth in 18 U.S.C.

  § 2256(8)(A).

            3.    The statements contained in this affidavit are based in part on information provided

  by HSI Special Agents; written reports about this and other investigations that I have received,

  directly or indirectly, from other law enforcement agents; the results of physical and electronic

  surveillance conducted by law enforcement agents; and my experience, training and background

  as a Special Agent with the HSI. Since this affidavit is being submitted for the purpose of securing

  a criminal complaint and arrest warrant, I have not included each and every fact known to me

  concerning this investigation. I have set forth only the facts that I believe are necessary to establish

  probable cause to believe Michael Gordon DOUGLAS has violated 18 U.S.C. § 2252A(a)(2) and

  (b)(1).

  II.       PROBABLE CAUSE

            An HSI West Palm Beach (WPB) undercover Special Agent (herein referred to as “the

  UC”) acted in an undercover capacity online on the mobile messaging application “Kik” to detect

  and investigate violations of federal law related to the sexual exploitation of children. The UC

  assumed the persona of a 29-year-old female with an 8-year-old daughter, herein referred to as

  Child1. The UC was monitoring numerous chatrooms including those created for individuals to

  discuss their interests in “taboo” sex, family incest, child pornography, and the like. At all times,

  for the following probable cause, the UC was in the Southern District of Florida.

            On October 3, 2023, at approximately 9:33pm (EST for all times), the UC received a

  private message from Kik user “DaddyBreedsFam” stating, “Hi [UC’s Kik name]. Hope we can

  chat sometime”. The UC responded the next day on October 4th stating, “Hey there how are you”.

  DaddyBreedsFam responded with, “I’m good. My Daughter is making me horny. Hbu?” The UC



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  asked how old she is. DaddyBreedsFam stated, “She is 16” and then sent two images of a female.

  The first image was a close-up of a blonde, juvenile female’s face who appeared to be under

  twelve. The next image was a close-up of a female with brown hair who appeared to be a teenager,

  and she had an edited filter with a flower headband across her forehead. She appeared to possibly

  be the same female as the one in the first photo, but older. DaddyBreedsFam wrote, “When she

  was younger and now. How old is yours?”

         (Distribution Count 1) On October 5, 2023, the UC responded and stated that her

  daughter is 8 and asked if DaddyBreedsFam “plays” with his daughter, to which he responded at

  about 10:42 A.M., “Yes I play with her, we started when she was 6, sitting on my lap rubbing

  herself. I took over and had d made her tingle and squirm ever since except for the occasional mom

  or girl. Have you played with yours yet?” The UC asked “how far” he has gone and explained that

  she and her daughter play too. At about 11:06am, DaddyBreedsFam responded and sent an image

  of a fully nude pre-pubescent female (face not shown). The child was laying on a nude adult male

  in the supine position, and the male’s erect penis was protruding through the child’s legs resting

  against her vulva. DaddyBreedsFam wrote “I’ve gone all the way, the night she was rubbing

  herself something took over me, I rubbed my daughter, it wasn’t enough, I locked her, it didn’t

  satisfy me, I carried her to the bedroom laid her dowhn. Used lots of lube and slowly slid my cock

  along her slit and then inside her. She didn’t cry. Just a wince. It took a long time but I was able to

  slowly fuck her. She made little grunting noises. Her whole body stiffened up then shook.”

  DaddyBreedsFam then sent an image that was zoomed in on the vaginal area and anus. There was

  no pubic hair but due to how zoomed in the photo was, it was difficult to determine the age of the

  individual in the photo.




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         DaddyBreedsFam asked the UC if she has “tried a minute or skinny dildo/vibrator” on her

  daughter, and then at about 11:16am, sent an approximately sixteen-second video of a fully nude

  pre-pubescent female (face not shown) straddled over a fully nude adult male. The male was

  holding the child up while vaginally penetrating her with his penis. The UC responded and stated

  that she has not tried any toys on her daughter yet, and then asked if the video was of

  DaddyBreedsFam and his daughter. DaddyBreedsFam did not answer the question but told the UC

  “Start with a bullet egg”.

         The UC inquired of DaddyBreedsFam’s age, sex, and location. He stated that he is a 47-

  year-old male from San Diego, California. The UC told him that she is a 29-year-old female from

  Florida. DaddyBreedsFam stated that he has family in Tampa and Ocala, and that he “spent some

  time in Miami & Coral Gables. I went to the U”. (“U” is an abbreviation for the University of

  Miami). DaddyBreedsFam added, “You can start training her ass with a small butt plug and lots

  of lube”. The UC told him that it would take a lot of lube. He responded, “If you haven’t start

  licking, rubbing and fingering her pussy and ass ro help her get used to it and relax”.

         DaddyBreedsFam sent another message and stated that he went back to California after a

  knee injury and became a photographer and wildland firefighter. He then sent several images and

  videos of wildfires. At about 6:38 P.M., he sent an image of a firetruck and wrote “This is my

  engine a Type III wildland rig”. The side of the firetruck displayed the numbers “3388”, and the

  logo of CAL FIRE – California Department of Forestry & Fire Protection. DaddyBreedsFam then

  sent several photos of women playing volleyball and said, “It started off with pro beach

  volleyball”.

         Minutes later, DaddyBreedsFam stated his name was “Michael”. Later in the evening, he

  added that he is 5’10”, 240 pounds. The UC asked what he was looking for on Kik or what he is



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  into. He responded, “Like minded women/mom’s with a possibility of maybe meeting. What about

  you?” The UC told him that she also likes talking to like-minded people and seeing what

  opportunities are out there. Michael then stated, “Exactly, mind me asking if you’re into kinky or

  more traditional even with your daughter? With mine, we started traditional and have moved with

  time to more kinky”. The UC asked what he would consider more traditional versus kinky. He

  responded, “Hmmm good point, I supposed soft and loving or more hard at times? Mine wanted

  hard at first but since she was so little I was more gentle and by 8 well she loved daddy daughter

  time anyway she could take it and by 10 she was into girls too and had her own strap on. I’m

  always curious. A friend of mine at 12 was fucked hard and became pregnant soon afterwards. My

  ideal family is where we all play together, mom getting our daughter’s ready for me, licking them

  clean after, me breeding our daughter’s and our son mom. Something sexy about a son cumming

  in the same womb he came from.”

         The UC responded and said that it sounded way too good to be true for him to be with his

  daughter. In response, Michael stated “She is as horny as I am and just as kinky”. Several minutes

  later at about 9:27pm (still on October 5, 2023), Michael sent one image and four videos to the

  UC. The image was of a pre-prepubescent white female who appeared to be under ten-years-old,

  laying on her back wearing a black shirt with cartoons on it. She was nude from the waist down

  and the photo was focused on her genitals. The first video was approximately forty-five seconds

  in length and depicted a pre-pubescent white female who was nude from the waist down. Both of

  her ankles were bound and tied up in the air by white cloth while the child was being vaginally

  and anally penetrated by an adult white male’s erect penis. The male then digitally penetrated the

  child’s vagina as he continued to anally penetrate her with his penis. The second video was

  approximately fifty-three seconds in length and depicted a fully nude white female teenager kissing



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  a fully nude pre-pubescent female child who appeared to be under ten-years-old. The child was

  grabbing the teenager’s breasts at the same time. The teenager then picked up the child, wrapping

  the child’s legs around her, continuing to kiss the child and spread the child’s buttocks. The video

  also displayed in small red writing “telegram: @scutecat628”. The third video was approximately

  thirty-two seconds in length and depicted a fully nude adult white male laying on his back. A fully

  nude juvenile female was straddled on top of him while masturbating his erect penis as he was

  rubbing her vaginal area, until he ejaculated. More conversation ensued regarding Child1 over the

  next several days.

         (Distribution Count 2) On October 10, 2023, at about 10:27 A.M., Michael sent two

  images to the UC. One image was of a pre-pubescent white female who was fully nude. The photo

  was zoomed in on her chest and genitals with her legs spread. The other image was the same one

  distributed on October 5 at 9:27pm with the female child wearing the black shirt with the cartoon

  images on it.

         (Distribution Count 3) On October 17, 2023, at about 9:47 A.M., Michael sent an image

  that was zoomed in on the genitals of a white female. The photo was very zoomed in, making it

  difficult to determine the age of the female. Michael then sent an image of a white, blonde juvenile

  female wearing eyeglasses and a white shirt, smiling, sitting in a car. Following that, Michael sent

  three videos to the UC. The first video was approximately thirty-seconds long and depicted a

  nude, white, pre-pubescent female recording herself while laying down. Her chest and above were

  visible. It appeared that she was masturbating. The second video was sixteen seconds long and was

  the same CSAM video distributed to the UC on October 5, 2023, at about 11:16 A.M. The third

  video was about sixty-five seconds in length and depicted a pre-pubescent white female who

  appeared to be under six-years-old. She was wearing a blue dress that was pulled up, and she was



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  nude from the waist down. An adult white male in a red t-shirt kissed her buttocks. He then had

  the child position herself on her hands and knees, he zoomed the camera in on her vaginal area and

  anus and began licking and kissing her anus and buttocks.

         Michael asked if Child1 looked like any of the girls in the videos he just sent. He then sent

  the same image of the blonde juvenile female he sent on October 3, 2023, and sent the same image

  he sent of the blonde female child wearing the eyeglasses in the car. They appear to possibly be

  the same child. At about 9:51am, Michael sent an image that appeared to be the same image he

  sent on October 5 at 11:06 A.M.

         At about 9:52 A.M. (still on October 17), Michael wrote “[UC Name], I hope you get

  soaking wet thinking of me inside your daughter. Mmmm have you been getting her ready?

  Licking, rubbing, using toys?” and then sent two videos to the UC. The first video was about

  twenty seconds long and depicted a nude, white pre-pubescent female who appeared to be under

  ten-years-old. She was lying on her back while an adult white male was ejaculating on the child’s

  face as she kept her eyes closed and grimaced. The second video was thirty seconds long and was

  the same video he distributed several minutes before of the pre-pubescent female recording herself

  from the chest up while likely masturbating.

         At about 11:37am, Michael asked the UC “how close to ready do you think [Child1] is?

  I’m about 7 inches long, very thick”. He then sent a pornographic image. The UC asked Michael

  if all the videos and photos he is sending are of him. In reference to his question about how much

  of him Child1 can take, the UC stated “Shes probably close but not for all 7”. At about 11:49 A.M.,

  he responded and sent the UC an image that was zoomed in on an unknown-aged white female’s

  vaginal area and anus. Michael wrote, “Most are not all this is my breeding my cousin. She is close

  and can probably take 5 inches. Do you want to heat her moan or scream? Be more gentle?” The



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  UC told him that this would be Child1’s “first time”, so he would have to be gentle. Michael

  responded at about 12:05 P.M. stating, “I’m very gentle, mine never cried I rubbed her, licked her

  and made sure she was very stimulated before using lots of lube and putting 2 inches in and holding

  me inside her”. He also sent a video, which was the same sixteen-second video he distributed on

  October 5 and earlier in the morning on October 17. After sending the video he said, “In a month’s

  time this will be yoir daughter”. He then added, “The little one in rhe last video is 4. I know just

  where to stop before hitting her cervix over and over. She’ll beg us to be on me, you can even wrap

  your hand around my shaft while I bounce her up and down. Lick her clit make her body tingle

  when I’m inside her”.

         (Distribution Count 4) On October 18, 2023, at about 2:01pm, Michael added the UC to

  a group he created named “Escondido Taboos, enjoy your favorite sins”. There were multiple other

  Kik users that were already added to the group. Michael sent images of pornography in the

  chatroom and then at around 2:05pm wrote, “This is a local but worldwide taboo chat room.

  Possible meet-ups to party and play in Escondido. CA Let me know if I should put an orgy

  together? Enjoy any sin you desire, be respectful, or you’re gone.” The UC did not observe anyone

  respond to his request in the chatroom. He then sent numerous images and videos of pornography

  in the chatroom throughout the afternoon and evening, to include one video at around 10:33pm

  that was the same thirty-second video he previously sent to the UC multiple times that showed a

  pre-pubescent white female who was nude and recording herself lying in bed while likely

  masturbating. Michael wrote, “Post what you want. No judgment, it’s a safe place for any desire.”

  Over the ensuing days, Michael inquired of members of the group regarding if any would like to

  join a sex party that would include minors. There were no public responses in the group to these

  inquiries. Michael posted in the chatroom, “I’m Mike, I’m 47, have a cock. In San Diego. CA. I’m



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  a wildland firefighter. I’m down for bareback fucking, creampies, breeding, age gap, young and

  old, incest, anal, toys, some BDSM. Party and Play friendly. Hbu?”

         (Distribution Count 5) Also on October 20, 2023, between 10:39am and 10:46am,

  Michael sent one image and five videos. The image depicted two pre-pubescent white, blonde

  females who were fully nude standing in a shower. They appeared to be under eight-years-old.

  Both children had a baseball bat positioned in between their legs from the floor to their genitals.

  One of the juveniles had a chain around her neck. Two adult white male erect penises are visible

  from the bottom of the picture. The first video that Michael sent was the same thirty-second video

  of CSAM he sent on October 17 that depicted the pre-pubescent juvenile female recording herself

  in bed while masturbating. The second video he sent was about thirteen-seconds long and depicted

  a fully nude, white, brunette female toddler laying on her back while a nude, white male toddler

  was licking her vulva. A white, blonde, female toddler was also kissing the brunette female toddler.

  The third video was about fifty-nine seconds long and depicted a fully nude white, pre-pubescent

  boy laying on his back. A nude, adult white female was rubbing the child’s penis and thighs. She

  then began masturbating herself while touching the boy’s penis. The boy was then straddled over

  the woman while touching her genitals. The fourth video was the same video of CSAM he sent to

  the UC on October 5 that was fifty-three seconds long depicting the two juvenile females (one

  teenager, one pre-pubescent) kissing each other, with the Telegram username displayed on the

  video. The fifth video he sent was the same video of CSAM he sent on October 5 that was

  approximately thirty-two seconds long and depicted a fully nude adult white male laying on his

  back. A fully nude juvenile female was straddled on top of him while masturbating his erect penis

  as he was rubbing her vaginal area, until he ejaculated. At 10:49am, Michael sent another video of




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  a white male penetrating a vagina with his penis, however the camera was very zoomed in on the

  genitals therefore it was difficult to determine the age of the female.

          Michael stated that some of the videos and photos he sent are of Avaya, and some are not.

  The UC asked him which were actually Avaya. He stated, “Okay here they are” and sent nine

  images at around 10:55am. One of the photos was the same photo he distributed to the UC on

  October 5 at around 11:06 A.M. depicting a fully nude pre-pubescent female (face not shown) as

  she was laying on a nude adult male in the supine position, with the male’s erect penis was

  protruding through the child’s legs resting against her vulva.

          After many requests, the UC sent a photo of the purported Child1 and asked for a photo of

  Michael in return. At about 8:30pm he responded with, “Lol what a cutie I’ll be very gentle. I may

  not be able to get deep inside her or at all the first time but I will and you’ll see her stomach bulge”.

  He then sent numerous photos and videos of wildfires. Then, at around 8:34pm he sent a twelve-

  second long and depicted a white male masturbating his penis while standing on a blue rug, but

  the video was zoomed in on the penis and did not show the male’s face. He wrote, “Just started

  stroking on last one, show [Child1] it. I’m not a shower but a grower”. The UC stated that she was

  asking for a live photo of him in return and did not need more wildfire videos or photos 1. At about

  8:38pm he responded, “I’m sorry” and sent a live photo of himself. The photo depicted a bald

  white male in his 40s with a red mustache and beard. He was standing indoors next to a window

  with open blinds. The top portion of his dark t-shirt was visible, which had the writing “The

  Homeplace” on it. The male in the photo clearly matched the male in Michael Gordon DOUGLAS’



  1
   When Kik users take and send a new photo or video using the camera within the Kik application rather than an
  old/already-existing photo or video, the Kik application adds the word “Camera” under the photo or video that the Kik
  user sent. If a Kik user receives a photo or video from someone and it says “Camera” underneath it, the Kik user
  knows that the photo or video was just taken in real time. Kik users often request live photos or videos from one
  another to prove that the other user is a “real” person.

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  California Driver’s License photo (see below). The UC asked him what he wanted her to tell

  Child1 when she shows her the video of him masturbating, per his request. He stated, “Tell her I

  think she is too cute and started to stroke my cock, dick penis to her and want to make her feel

  good as she does me”.

         The UC told him that he would be Child1’s “first” (male sexual experience). He said that

  he promised he would be “loving and caring” and “will be making love to her”. The UC asked

  how he would start off the experience, and if he would be going straight into sex with Child1. He

  replied, “No of course not she will be rubbed and licked a little fingering getting her use to being

  touched I could go 2 ways. Have you lick her a while and slide inside you coating my cock in your

  juices using your pussy juices as lube inside your daughter. I’ll have her sit on My lap reverse

  cowgirl and have you guide me in once my tip is against her hole I’ll slowly push in 2 inches and

  hold you’ll comfort her as will I and as she gets use to my size I push deeper then I’ll add lube so

  I can slow fuck her once all 7 inches is inside her”. Michael then discussed his desire to impregnate

  Child1 once she is “fertile”. He stated that he “can deliver a baby if there isn’t too many

  complications. I’m a firefighter/paramedic i know a OBGYN who would help make sure the baby

  was healthy and be there for an at home birth.” The UC told him that she did not want to plan that

  far ahead. He said, “but I love breeding young and incest”. Michael stated that he may be able to

  fly to Florida during Veteran’s Day weekend. He said, “I want to feel her chest against mine as I

  fill her pussy up. She’ll eventually love it and make noises”.

         On October 26, 2023, Michael sent the UC a live video, about twelve seconds long, that

  depicted Michael (the same person from the photograph above) standing indoors, possibly in a

  bathroom. The walls were white or beige, there was a closed door behind him, the floors were

  brown, and he was standing on a blue rug. It looked like the blue rug seen in the masturbation



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  video he sent. He was wearing a dark green t-shirt that said “I’M A FIREFIGHTER OF COURSE

  I’M CRAZY! DO YOU THINK A SANE PERSON WOULD DO THIS JOB?”, and dark shorts

  with a white skull on it. The video started with Michael showing his face and said, “Hi [UC’s first

  name]”. He then moved the camera down to show his legs and his shin injury, which looked the

  same as in the previous photo he sent. He said, “So look. This thing’s nasty. [inaudible] my foot,

  calf, and knee, and thigh”.

         (Distribution Count 6) On October 30, 2023, regarding an upcoming Holloween sex

  party that Michael was preparing for, the UC told him to enjoy his upcoming party. At about

  8:32am, he responded and said, “I don’t trust anyone not to hurt her, I’ll make sure she is stretched

  out to take any size man but that does take time”. He then immediately sent the UC a two-minute

  video that began with an adult white male spreading the labia of a white female toddler and

  zooming the camera inside of her vagina. The male then rubbed his erect penis on her vulva. The

  child was blonde, wearing a pink t-shirt and was nude from the waist down. She appeared to be

  two to three-years-old. The adult male then spread her labia with his fingers and zoomed in inside

  of her vagina again while touching her vulva. The male then performed oral sex on the toddler. He

  then inserted what appeared to be a small black flashlight inside of her vagina. After, he zoomed

  in inside of her vagina again and then continued to try to penetrate her vagina with the tip of his

  penis. The video ended with the male penetrating the child’s anus with his penis.

         The UC told him that the girl in the video is smaller than Child1, and asked Michael how

  old he thought the child in the video was. He responded, “4”. The UC said, “Yeah way smaller

  than [Child1]”. At about 1:35pm, Michael sent the UC the same video again and wrote, “[Child1]

  will still be tight and will take me time to get her stretched open”.




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         On November 2, 2023, at about 12:10am, Michael messaged the UC and said that he did

  not end up having the Halloween taboo sex party. He also said the Kik app has been “acting up”

  and provided the UC with his phone number and said she could text him. The phone number was

  (760) 803-8825. He stated he was fine with talking on Kik and on text. The UC provided him with

  her UC phone number in return.

         At about 8:52am, the UC received a phone text message from phone number (760) 803-

  8825. The text stated, “Hi it’s Daddy aka Michael from Kik”. The UC responded. He told her about

  some health issues he was dealing with and then said, “I glad I didn’t come there during this time.

  I’m not sure if I could fuck much. I would have to just hold her and lower on shaft and bounce

  [Child1] up and down.” He let the UC know that he will “lookup airfare”, “but right now I’m

  stroking myself to your daughter and her first time as we talk”.

         On November 17, 2023, Michael texted the UC that his phone was broken.

         On November 18, 2023, the UC’s phone displayed that “RCS chat with Michael” has

  started, which is encrypted text messaging for Android phones. At about 10:39 A.M., Michael

  told the UC that he is using a “back up phone”. The UC asked him about what the RCS chat

  messaging was but he stated that he was not sure.

         On November 27, 2023, at around 1:30 P.M., Michael texted the UC that he has a new

  phone but none of his contacts switched over. He then claimed he could not get vacation days

  approved to fly to Florida right now. The UC told him that she was still planning her trip to

  Arizona. Michael asked what the dates were, as he wanted to see if he would be working or not.

  The UC advised that she was looking at two weeks from now. Michael stated that he will have to

  work some days, “but can meet, were you going to come to Carlsbad for Legoland at all?” The UC

  told him that she was going to take Child1 to Legoland or one of the zoos. Michael stated, “How



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  about we meet when you come in I’m only a few miles from Legoland and the Animal Park is

  about the same let’s see where it takes us? Besides Child1’s legs spread eagle and me inside her”.

  The UC told him that he would be Child1’s lucky first. He replied, “She’ll be lucky. I’ll slowly

  take my time with her and make sure she loves cock and cum. I’ll even tell about how baby’s are

  made so she begs for one”. The UC said that she wants him to wear a condom and take it slow

  with Child1. Michael said that he will take it slow, but that he cannot wear a condom because they

  “tend to break even with magnum size. With lube and skin it’s better the first time”. The UC said

  that she is afraid of Child1 catching something, and prefers that he at least tries. Michael said, “I’m

  clean, I’ll even test if you want but trust me a condom may hurt her. I know many who sre younger

  who have issues with latex”. (Distribution Count 7) Between 2 P.M. and 3 P.M., Michael sent

  the UC thirteen (13) pornographic videos, most of which involved children. In one of those videos,

  about 46 seconds’ long, a white juvenile male, who appeared to be under 10-years-old, performed

  oral sex on a white male who appeared to be a teenager in a black sweater. In a second video, about

  32 seconds’ long, a pre-pubescent, white juvenile female, who wore clothing, laid on a bed, while

  a pre-pubescent white juvenile male pulled her pants and underwear down exposing her pubic

  region. The boy performed oral sex on the girl, while the girl was performing oral sex on an adult

  white male.

         HSI served a subpoena to Kik requesting subscriber records for the Kik account

  “DaddyBreedsFam”. HSI received records back from Kik showing that the Kik account was

  created with an email address of MikeD14691@gmail.com. The records also included an IP

  address activity log, including the re-occurring residential IP address 98.176.180.40.

         Cox Communications provided information for IP address 98.176.180.40, Port # 47176,

  for the date/time of October 16, 2023, at 00:40:35 UTC (obtained from the Kik IP activity log)



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  with the subscriber as person with the initials “P.D.” at 525 W El Norte Pkwy, Spc 75, Escondido,

  CA 92026, home phone number of (760) 803-8823.

         A search of public and law enforcement databases of this address, identified 47-year-old

  Michael Gordon DOUGLAS, Year of Birth: 1976, SS# xxx-xx-0355, with an associated address

  of 525 W El Norte Pkwy, Spc 75, Escondido, CA 92026. The photo on his U.S. Passport and the

  photo on his California Driver’s License match the same male seen in the live Kik photo and live

  Kik video that “DaddyBreedsFam” sent to the UC.

         A response from Google for subscriber information for MikeD14691@gmail.com returned

  a username “Mike D” which was created on May 22, 2023.

         The (760) 803-8825 phone number that DOUGLAS provided to the UC is a Verizon phone

  number. A search of this phone number in a popular mobile payment application, CashApp,

  located a CashApp account “$ChicagoMikeMGD” with the display name “Michael Douglas” and

  a profile photo of a wildfire. It showed that he joined CashApp in November 2022. Verizon

  responded to a subpoena for subscriber info for this phone number. Verizon provided that the

  subscriber name is “P.D.” at 525 W El Norte Pkwy, Spc 75, Escondido, CA 92026. The records

  also show that this phone number is linked to a Samsung Galaxy S20 FE 5G Navy phone with

  IMEI # 354630367224710.

         “DaddyBreedsFam” a/k/a “Michael” a/k/a Michael Gordon DOUGLAS was convicted on

  April 27, 2011 in California Sate Court, having plead guilty, to distributing child pornography (3

  counts), possession of child pornography (1 count), and attempting to send harmful material to a

  minor (1 count) when he communicated with an undercover detective who was posing as a

  teenaged girl. He was sentenced to 5 years’ probation (expired 4/26/2016); a two-year prison

  sentence was stayed. He was ordered to register as a sex offender under California State law. On



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  June 25, 2021, Judge David Gill signed an order removing DOUGLAS from the sex offender

  registry as he had been properly rehabilitated.

          There is no record that DOUGLAS has worked for CAL FIRE. However, CAL FIRE does

  have an inmate program which DOUGLAS may have participated in while incarcerated or learned

  about firefighter-related information through another inmate.

          During surveillance of the Escondido residence (a double-wide mobile home), two vehicles

  have been seen, a black 2006 Acura TSX registered to L.D., and a Gray 2007 Toyota Highlander

  registered to P.D. Public records indicate the residence was purchased on April 25, 2023, for

  $400,000.

          L.D. is listed on DOUGLAS’ birth certificate (seen from his passport application) as his

  mother. A public news article related to his previous conviction mentioned that he was living with

  his mother at the time of that case. P.D. (the name on the phone Verizon phone number connected

  to the Kik account) is another family relative of DOUGLAS.

          On November 8, 2023, HSI CA agents observed DOUGLAS leaving the Escondido

  residence at 10:30 A.M. He walked through the foliage of the freeway onramp and met with a

  homeless person and then walked to the Vons shopping plaza where he met with a woman wearing

  a red sweatshirt, later identified as T.M.G.-S. After talking to the woman for a few minutes,

  DOUGLAS walked towards the Children’s Paradise preschool in the same plaza. He walked

  around the preschool, took his phone in his hand, and held it up – either to look at something on

  his phone or possible take photographs in the direction of the preschool. DOUGLAS returned to

  T.M.G.-S. and entered a car with her and drove to her residence in the Lawrence Welk Champagne

  Village trailer park.




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  III.   CONCLUSION

         For these reasons, your Affiant respectfully submits that there is probable cause to believe

  that Michael Gordon DOUGLAS, a.k.a. “DaddyBreedsFam,” a.k.a. “Michael” violated 18 U.S.C.

  § 2252A(a)(2) and (b)(1) within the Southern District of Florida and elsewhere by distributing

  child pornography as a repeat offender. I therefore respectfully request that the Court authorize a

  criminal complaint and arrest warrant for DOUGLAS under seal.



                                                       Respectfully submitted,
                                                                                 Digitally signed by AISHA A
                                                        AISHA A RAHMAN RAHMAN
                                                                                 Date: 2023.12.04 15:24:26 -05'00'


                                                       Aisha Rahman
                                                       Special Agent
                                                       Homeland Security Investigations

  Subscribed and sworn to me by applicant by
  telephone (Facetime) per the requirements of
  Fed. R. Crim. P. 4(d) and 4.1 on this 4th day
  of December 2023.


  _____________________________________
  HON. RYON M. MCCABE
  UNITED STATES MAGISTRATE JUDGE




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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET

  Defendant's Name: 0LFKDHO*RUGRQ'RXJODV

  Case No:  PM500

  CountV #:

  'LVWULEXWLRQRI&KLOG3RUQRJUDSK\

  18 U.S.C. § 2252A(D)  DQG E 
  * Max. Term of Imprisonment:  years
  * Mandatory Min. Term of Imprisonment (if applicable): \HDUV
  * Max. Supervised Release: Life (mandatory minimum term of 5 years)
  * Max. Fine: $250,000 fine and a $5,000 special assessment




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
